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               16
                                                   UNITED STATES DISTRICT COURT
               17
                                                  NORTHERN DISTRICT OF CALIFORNIA
               18
                                                            OAKLAND DIVISION
               19
                       COALITION ON HOMELESSNESS, et al.,              Case No. 4:22-cv-05502-DMR
               20
                                              Plaintiffs.             PLAINTIFFS’ OPPOSITION TO
               21
                                                                      DEFENDANTS’ ADMINISTRATIVE
               22                v.                                   MOTION FOR EXTENDED BRIEFING
                                                                      SCHEDULE
               23      CITY AND COUNTY OF SAN FRANCISCO,
                       et al.,                                         Hon. Judge Donna M. Ryu
               24
                                              Defendants.              Date Action Filed: September 27, 2022
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ATTORNEYS AT LAW
                                                                                        PLFS.’ OPP. TO DEFS.’ MOT.
 SAN FRANCISCO                                                                               FOR EXT. BRIEF. SCH.
                                                                                       CASE NO. 4:22-CV-05502-DMR
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                   1   I.       INTRODUCTION

                   2            Plaintiffs filed this action to enjoin Defendants from summarily destroying the personal

                   3   property of unhoused residents and from conducting criminal enforcement against unhoused

                   4   residents who have not been provided sufficient and adequate shelter by the City. Although

                   5   Plaintiffs also filed a Motion for Preliminary Injunction (“PI Motion”) in light of the extent of

                   6   Defendants’ unconstitutional conduct, Defendants have continued their unlawful practices even

                   7   after the PI Motion was filed.

                   8            Defendants—who abruptly cut off ongoing conversations last week between the parties

                   9   aimed at achieving an appropriate briefing schedule for the PI Motion—now grouse to this Court

               10      that the current briefing schedule conflicts with personal vacations and deadlines in other cases.

               11      But Defendants fail to identify any “substantial harm or prejudice” that would justify the lengthy

               12      extension of time they seek to respond to the PI Motion, during which time Defendants will

               13      continue to subject San Francisco’s unhoused population to serious trauma and ongoing

               14      constitutional harms on a daily basis. Defendants also partially premise their request on the basis

               15      that they need more time to supposedly gather factual information on Plaintiffs’ claims, but have

               16      stonewalled Plaintiffs’ repeated attempts to hold a Rule 26(f) conference. For these reasons,

               17      Plaintiffs respectfully request that Defendants’ Administrative Motion be denied.

               18      II.      RELEVANT BACKGROUND

               19               Although Defendants’ opposition to the PI Motion was initially due October 11, 2022, the

               20      Court extended that deadline to October 18, 2022 and set a hearing for November 18, 2022. Dkt.
               21      No. 22. The Court did not extend the time for Defendants to respond to the Complaint. 1 On October
               22      4, 2022, Defendants’ counsel proposed to extend Defendants’ opposition to the PI Motion by an

               23      additional four weeks. Dkt. No. 28-1 at 4 (to November 15, 2022). Defendants vaguely asserted

               24      that “preexisting commitments” were a basis for the extension without providing further

               25      information. Id. As part of their extension request, Defendants stated that they might be willing to

               26      engage in settlement discussions. See id. Because of Plaintiffs’ urgent need for relief, Plaintiffs

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               28      1
                           Plaintiff do not oppose Defendants’ request for an extension to respond to the Complaint.
                                                                          1              PLAINTIFFS’ OPP. TO DEFS.’ ADMIN
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                   1   offered to consent to the proposal if Defendants engaged in meaningful settlement talks,

                   2   temporarily ceased their ongoing property destruction and criminal enforcement practices during

                   3   the extended briefing period, and conducted a prompt Rule 26(f) conference. Id. 2 Defendants

                   4   refused these conditions and instead simply offered the sleeves off their vest, stating that they

                   5   would “agree to adhere to [their] written policies.” Id. at 2. Before even allowing Plaintiffs a

                   6   chance to respond with an alternate scheduling proposal, Defendants filed their Administrative

                   7   Motion less than a day later. Shroff Decl. ¶¶ 7-8, Ex. A.

                   8   III.    ARGUMENT

                   9           To justify changing a briefing schedule in this District, a party must identify “substantial

               10      harm or prejudice that would occur if the Court did not change the time.” Civil L. R. 6-3(a)(3).

               11      Defendants have not presented the risk of any harm or prejudice to Defendants if their motion is

               12      denied—much less the substantial harm or prejudice required to support a motion to enlarge time.

               13      Despite Defendants’ arguments to the contrary, the mere desire for more time or conflicts with

               14      personal travel schedules and other court deadlines fail to constitute the required prejudice as a

               15      matter of law. Meanwhile, granting Defendants’ extension request would subject Plaintiffs to

               16      immediate future constitutional deprivations that constitute both substantial and irreparable harm.

               17              A.     Purported Need for More Time Is Not “Substantial Harm or Prejudice.”

               18              Defendants apparently contend that because the PI Motion is well-supported, Defendants

               19      will suffer substantial harm if they cannot have more time to respond. But the mere desire for

               20      additional time to respond to a detailed motion—without more—cannot constitute substantial harm
               21      or prejudice. See Burrell v. County of Santa Clara, No. 11–CV–04569–LHK, 2013 WL 2156374,
               22      at *1 n. 4 (N.D. Cal. May 17, 2013) (“the volume of work involved” is not a sufficient reason to
               23      extend a briefing schedule); In re Cisco Sys. Sec. Litig., No. C 11-1568 SBA, 2013 1636384, at *1
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                       2
                         This was the third time Plaintiffs’ counsel requested that Defendants provide dates for a 26(f)
               25
                       conference. Plaintiffs first made this request on September 26, 2022 when courtesy copies of the
               26      Complaint and PI motion were sent to Defendants. Shroff Decl. ¶ 3. A second request to schedule
                       a 26(f) conference was made on September 28, 2022. Id. ¶ 4. Plaintiffs have reminded Defendants
               27      that the parties are obligated to confer “as soon as practicable.” See Fed. R. Civ. P. 26(f); see also
                       Highlander Holdings v. Fellner, No. 3:18-cv-1506-AHG, 2020 WL 3498174, at *6 (S.D. Cal. Jun.
               28      29, 2020).
                                                                          2               PLAINTIFFS’ OPP. TO DEFS.’ ADMIN
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                   1   (N.D. Cal. Apr. 16, 2013) (“need [for] additional time” to prepare a response was not “substantial

                   2   harm or prejudice”).

                   3           Defendants argue that they need additional time to “evaluate [the] evidence, gather relevant

                   4   information and test [the] factual allegations” of the PI Motion, but fail to identify what specific

                   5   information they purportedly need to prepare their response. Indeed, Defendants ignore that the

                   6   bulk of the evidence submitted in support of Plaintiffs’ claims comes from Defendants’ own

                   7   reports, communications, and public statements. See, e.g. Dkt. No. 9-8 (attaching as exhibits

                   8   documents provided by Defendants in response to public records requests). Defendants cannot

                   9   credibly claim they are unfamiliar with their own data and documents. Defendants’ assertion that

               10      they wish to “test [the] factual allegations” of the PI Motion is further belied by the fact that

               11      Defendants have not yet sought discovery with respect to the PI Motion—and have actively

               12      refused to even schedule the Rule 26(f) conference Plaintiffs requested. See, e.g., Wilson v. Frito-

               13      Lay North America, Inc., No. 12–1586 SC, 2015 WL 846546, at *2 (N.D. Cal. Feb. 25, 2015) (no

               14      response deadline extension where party has “not demonstrated that they diligently pursued the

               15      discovery at issue”). 3

               16              B.      Conflicts With Vacations and Other Case Deadlines Are Not Sufficient.

               17              Defendants also argue that the Court should extend their time to respond to the PI Motion

               18      due to the personal vacation schedules of two attorneys and a preexisting deadline in a state court

               19      matter that impacts one attorney. Dkt. No. 27 at 4. These are no doubt important matters. But

               20      Defendants fail to explain why these short-term commitments should result in an entire month’s
               21      delay in when Plaintiffs’ emergency motion can be heard. For example, Defendants offer no reason
               22      why any other lawyers in the City Attorney’s Office—including any of the three other experienced
               23      attorneys listed on the the Administrative Motion—are unable to help prepare Defendants’
               24      response brief during co-counsel’s brief absences. 4 In short, the convenience of Defendants’
               25      3
                         To the extent that Defendants introduce new evidence as part of their response to the PI Motion,
               26      Plaintiffs should be given time to review it and the opportunity to seek related discovery. But that
                       issue is for another day.
               27      4
                         Defendants also state that Mr. Emery—one of the City attorneys “responsible for defending this
                       action”—is unable to attend the November 18, 2022 hearing. But the Court has scheduled the
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                                                                          3              PLAINTIFFS’ OPP. TO DEFS.’ ADMIN
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                   1   counsel should not be prioritized over Plaintiffs’ vindication of fundamental constitutional rights. 5

                   2          C.        Immediate and Irreparable Harm Is Likely to Occur if Extension Is Granted

                   3          As detailed in the Complaint and PI Motion (Dkt. Nos. 1, 9), Defendants regularly violate

                   4   constitutional protections guaranteed to the City’s unhoused residents. Defendants violate the

                   5   Fourth Amendment when they seize and destroy personal property of unhoused residents on an

                   6   ongoing and daily basis. Furthermore, Defendants violate the Eighth Amendment by conducting

                   7   criminal enforcement against unhoused residents who do not have adequate access to shelter in the

                   8   City. This conduct is pervasive, ongoing, and traumatizing—and impacts hundreds of unhoused

                   9   San Franciscans. See Dkt. No. 9 at 23. These actions result in permanent physical, emotional, and

               10      mental health consequences and threaten the very survival of unsheltered individuals. See Dkt. No.

               11      9-1 ¶¶ 90–105.

               12             Defendants’ request prioritizes the convenience of opposing counsel over the immediate

               13      relief necessary for Plaintiffs. Left unsaid in the Administrative Motion is the fact that Defendants’

               14      request will require the Court to postpone the November 18, 2022 hearing. Defendants’ proposed

               15      opposition date of November 15, 2022 would not leave Plaintiffs a reasonable opportunity to file

               16      a reply, nor allow the Court adequate opportunity to review the briefing in advance of the presently

               17      scheduled hearing. Given the upcoming Thanksgiving holiday, Plaintiffs might not be heard by

               18      the Court until December 2022 or later. Such a significant delay would be highly prejudicial to

               19      Plaintiffs and the City’s unhoused residents, especially as we head into rapidly dropping

               20      temperatures in the City during the winter, which will only exacerbate the harms the City inflicts
               21      on unhoused individuals when it destroys their survival belongings.
               22             Defendants dismissively argue that no urgency exists because Defendants were willing to
               23

               24      hearing to be heard remotely, and a small scheduling adjustment to accommodate a double-
                       booking should not entitle Defendants to a one-month extension.
               25      5
                         Moreover, Mr. Emery’s commitments in the Lacy case do not prevent Defendants from meeting
                       the deadlines in this case. Under the current briefing schedule, Mr. Emery and his colleagues will
               26      have two additional weeks to prepare and file the appellate brief in Lacy. Defendants offer no
                       explanation why mid-October deadlines in this case prevent Defendants from meeting subsequent
               27      deadlines in Lacy. See Mot. at 4. Inexplicably, Defendants have requested that the Court extend
                       the time to respond to the Complaint to November 3, 2022 (see id.)—the same day that Mr.
               28      Emery’s appellate brief is in due in Lacy.
                                                                           4              PLAINTIFFS’ OPP. TO DEFS.’ ADMIN
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                   1   simply “agree to adhere to [their] written policies.” Dkt. No. 28-1 at 2. But, that promise rings

                   2   hollow. A central crux of the PI Motion is that Defendants have not followed their own policies

                   3   for years. See Dkt. No. 9 at 12-13. Indeed, since Plaintiffs filed the PI Motion—and even after

                   4   Defendants’ counsel purported that Defendants would agree to follow their own policies—

                   5   Defendants continued to destroy unhoused people’s survival belongings and threatened to arrest

                   6   and cite unhoused individuals without first offering shelter. See Shroff Decl. ¶¶ 9-14; Rochelle

                   7   Decl. ¶¶ 3-7. Plaintiffs continue to suffer immediate harms that have dire consequences for their

                   8   lives until the PI Motion is granted. 6

                   9           D.      Defendants Acted Preemptively and Failed to Meaningfully Meet-and-Confer.

               10              Defendants failed to adequately meet and confer with Plaintiffs prior to filing the instant

               11      motion. See Civil L. R. 6-3(a)(2). Plaintiffs had no details about Defense counsel’s prior

               12      commitments, but were diligently working to propose a resolution with Defendants at the very

               13      moment Defendants were filing their motion. Shroff Decl. ¶ 8, Ex. A. Had Defendants continued

               14      to engage in good-faith discussions with Plaintiffs, it is possible that these issues could have been

               15      resolved. Plaintiffs do not oppose a reasonable extension to the PI briefing schedule so long as it

               16      is accompanied by meaningful protections against further abuses by the City, and so long as

               17      Defendants cannot obstruct the discovery process by refusing to participate in a 26(f) conference.

               18      IV.     CONCLUSION

               19              For the foregoing reasons, the Court should deny Defendants’ request for an extension to

               20      respond to the PI Motion. Alternatively, if the briefing schedule is significantly extended, Plaintiffs
               21      respectfully request that the Court impose certain notice and reporting requirements to help protect
               22      Plaintiffs against the harms they continue to suffer and request that the Court order Defendants to
               23      participate in a prompt Rule 26(f) conference. 7
               24      6
                         Defendants’ insuniation that this litigation might somehow prevent the City from responding to
               25      street conditions that “obstruct the public right of way and create public health hazards” is
                       misleading. Mot. at 2. This litigation is exclusively about Defendants’ targeting of unhoused
               26      people and their property due to their homelessness, and does not in any way seek to limit
                       Defendants’ ability to take lawful, appropriate action to address genuine road and safety hazards.
               27      7
                         Plaintiffs enclose a proposed order herewith suggesting the interim relief the Court should order
                       to protect Plaintiffs from imminent harm in the event the Court grants Defendants’ four week
               28      extension.
                                                                           5               PLAINTIFFS’ OPP. TO DEFS.’ ADMIN
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                   1   Dated: October 11, 2022           Respectfully,

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